                     Case 13-80568        Doc 59     Filed 03/12/19     Page 1 of 4



(8/2017)                    UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF NORTH CAROLINA
                                    DURHAM DIVISION

In re:                                                       Case No. 13-80568-
           TONYA GAIL MCCRAE                                 Judge Benjamin A. Kahn

              Debtor(s)
SSN(1) XXX-XX-2577


           CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Richard M. Hutson, II, chapter 13 trustee, submits the following Final Report and
Account of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee
declares as follows:

           1) The case was filed on 04/30/2013.

           2) The plan was confirmed on 07/24/2013.

           3) The case was completed on 09/28/2018.

           4) Number of months from filing to last payment: 65.

           5) Number of months case was pending: 70.

           6) All checks distributed by the trustee relating to this case have cleared the bank.




                                               Page 1 of 4
                                               13-80568-
                 Case 13-80568           Doc 59    Filed 03/12/19         Page 2 of 4




Receipts:

       Total paid by or on behalf of the debtor              $166,616.01
       Less amount refunded to debtor                          $1,336.88

NET RECEIPTS:                                                                              $165,279.13


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                               $250.00
    Court Costs                                                           $0.00
    Trustee Expenses & Compensation                                  $11,404.25
    Other                                                                $88.00
TOTAL EXPENSES OF ADMINISTRATION:                                                            $11,742.25

Attorney fees paid and disclosed by debtor:                 $3,500.00


Scheduled Creditors:
Creditor                                       Claim         Claim         Claim       Principal      Int.
Name                                 Class   Scheduled      Asserted      Allowed        Paid         Paid
1ST NATIONAL CREDIT CARD         Unsecured         534.00           NA           NA            0.00       0.00
CORTRUSTCC                       Unsecured            NA            NA           NA            0.00       0.00
CREDIT FINANCIAL SERVICES        Unsecured         270.00           NA           NA            0.00       0.00
CREDIT ONE BANK, N.A.**          Unsecured            NA            NA           NA            0.00       0.00
CSDDUR                           Unsecured         800.00           NA           NA            0.00       0.00
DURHAM CITY/CO TAX OFFICE        Priority             NA            NA           NA            0.00       0.00
DURHAM CITY/CO TAX OFFICE        Priority             NA            NA           NA            0.00       0.00
DURHAM CITY/CO TAX OFFICE        Secured              NA            NA           NA            0.00       0.00
DURHAM EMERGENCY PHYSICIANS      Unsecured         279.40           NA           NA            0.00       0.00
HSBC BANK                        Unsecured            NA            NA           NA            0.00       0.00
INTERNAL REVENUE SERVICE         Priority       3,854.94         889.29       889.29        889.29        0.00
INTERNAL REVENUE SERVICE         Unsecured            NA       1,518.40     1,518.40      1,518.40        0.00
LVNV FUNDING LLC                 Unsecured      3,007.70            NA           NA            0.00       0.00
NC DEPARTMENT OF REVENUE         Priority       3,284.45       5,148.27     5,148.27      5,148.27        0.00
NC DEPARTMENT OF REVENUE         Unsecured            NA       1,370.93     1,370.93      1,370.93        0.00
PREMIER BANKCARD/CHARTER         Unsecured            NA         416.66       416.66        416.66        0.00
PRIVATE DIAGNOSTIC CLINIC PLLC   Unsecured         101.01           NA           NA            0.00       0.00
QUANTUM3 GROUP LLC AGENT FOR     Unsecured            NA         969.05         0.00           0.00       0.00
QUANTUM3 GROUP LLC AGENT FOR     Unsecured            NA          44.50        44.50         44.50        0.00
REGIONAL ACCEPTANCE CORP         Unsecured            NA       2,246.54     2,246.54      2,246.54        0.00
REGIONAL ACCEPTANCE CORP         Secured       12,481.00           0.01         0.00           0.00       0.00
REVENUE CYCLE SOLUTIONS          Unsecured      1,575.00            NA           NA            0.00       0.00
WELLS FARGO                      Unsecured            NA            NA           NA            0.00       0.00
WELLS FARGO BANK NA              Secured              NA     37,652.76     37,652.76     37,652.76        0.00
WELLS FARGO BANK NA              Secured      201,000.00    230,057.85          0.00    104,249.53        0.00
WFNNB/LNBR                       Unsecured         102.00           NA           NA            0.00       0.00




                                             Page 2 of 4
                                             13-80568-
                 Case 13-80568      Doc 59   Filed 03/12/19     Page 3 of 4




Summary of Disbursements to Creditors:
                                                        Claim       Principal         Interest
                                                      Allowed           Paid             Paid
Secured Payments:
      Mortgage Ongoing                               $0.00      $104,249.53            $0.00
      Mortgage Arrearage                        $37,652.76       $37,652.76            $0.00
      Debt Secured by Vehicle                        $0.00            $0.00            $0.00
      All Other Secured                              $0.00            $0.00            $0.00
TOTAL SECURED:                                  $37,652.76      $141,902.29            $0.00

Priority Unsecured Payments:
       Domestic Support Arrearage                    $0.00              $0.00          $0.00
       Domestic Support Ongoing                      $0.00              $0.00          $0.00
       All Other Priority                        $6,037.56          $6,037.56          $0.00
TOTAL PRIORITY:                                  $6,037.56          $6,037.56          $0.00

GENERAL UNSECURED PAYMENTS:                      $5,597.03          $5,597.03          $0.00


Disbursements:

      Expenses of Administration                       $11,742.25
      Disbursements to Creditors                      $153,536.88

TOTAL DISBURSEMENTS :                                                           $165,279.13




                                        Page 3 of 4
                                        13-80568-
                   Case 13-80568         Doc 59      Filed 03/12/19       Page 4 of 4




        7) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the
estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed. The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 03/12/2019                             By:/s/ Richard M. Hutson, II
                                                                     Trustee
xc TONYA GAIL MCCRAE
   U.S. BANKRUPTCY ADMIN
   JOHN T ORCUTT
   6616-203 SIX FORKS ROAD
   RALEIGH, NC 27615

STATEMENT: This Unified Form is associated with an open bankruptcy case , therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




                                               Page 4 of 4
                                               13-80568-
